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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MARYLAND

                                                       *
    UNITED STATES OF AMERICA                           *
           v.
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                                                              CRIMINAL     NO~G                         /C{cr                 oy.l
                                                       *
    IVAN VICTOR THRANE,                                *      (Conspiracy to Commit Wirc Fraud,
                                                       *      18 U.S.c. ~ 1349; Forfeiture, 18 U.S.c.
                     Defendant                         *      ~ 981 (a)(l)(C), 21 U.S.C. ~ 853,
                                                       *      28 U.S.c. ~ 246I(c))
                                                       *
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                                            INFORMATION

                                               COUNT ONE                                 n
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                                 (Conspiracy    to Commit Wire Fraud)          ~   >r
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          The United States Attorney for the District of Maryland charges that: -:: u;            .£)
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          At all times relevant to this Infonnation:
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          I.        Defendant IVAN VICTOR THRANE ("THRANE")                was a resident of

   Maryland.

          2.        Victim Company 1 was a company headquartered in Beltsville, Maryland, that

  provided construction and design services, primarily to federal government agencies.

          3.        Company A was a construction company with an address of P.O. Box 219,

  Dickerson, Maryland.

          4.        Company B was a construction company with an address of P.O. Box 219,

   Dickerson, Maryland.

          5.        Company C was a construction company with an address of 5000 Sunnyside

  Avenue, Suite 301, Beltsville, Maryland.
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        6.         THRANE was the owner and president of Company A, Company 13,and

Company C (collectively, "the THlU\NE         Companies").

        7.         Rakcsh Kaushal ("Kaushal")     was a resident of Maryland and an employee of

Victim Company I.

                                            The Conspiracy

       8.          From in or about August 2015 through in or about January 2017, in the District of

Maryland and elsewhere, the defendant,

                                      IVAN VICTOR THIU\NE,

did knowingly and willfully combine, conspire, confederate, and agree with Kaushal and others,

known and unknown to the United States Attomey, to commit wire fraud, that is, to devise any

scheme and artifice to defraud Victim Company I, and for obtaining money and property from

Victim Company 1 by means of materially false and fraudulent pretenses, representations, and

promises ("the scheme to defraud"), and for the purpose of executing and attempting to execute

the scheme to defraud, to transmit and cause to be transmitted by means of wire communication

in interstate and foreign commerce, any writings, signs, signals, pictures, and sounds, in violation

of 18 U.S.c.   S   1343.

                   Manner and Means of thc Conspiracy        and Schcme to Defraud

       9.          It was part of the conspiracy and scheme to defraud that THRANE owned and

operated the THIU\NE        Companies.

        10.        It was part of the conspiracy and scheme to defraud that, between in and about

August 2015 and in and about January 2017, Kaushal was employed by Victim Company 1 as a

Project Manager and Project Executive.




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        11.      It was further part of the conspiracy and scheme to defraud that THRANE and

Kaushal caused Victim Company 1 to make payments to the THH.ANE Companies to which

those companies were not entitled, and THRANE, in turn, funneled a portion of these payments

to KaushaI.

       12.       It was further part of the conspiracy and scheme to defraud that THRANE and

Kaushal caused the THRANE Companies to submit payment requests to Victim Company I for

subcontracting work purportedly performed by the THRANE Companies.

       13.       It was further part of the conspiracy and scheme to defraud that Kaushal, as

Victim Company 1's Project Manager and Project Executive, represented to Victim Company I

that the work related to the payment requests had been performed, causing Victim Company 1 to

pay the THRANE Companies.

       14.       It was further part of the conspiracy and scheme to defraud that, from in and about

September 2015 through in and about December 2016, THIU\NE and Kaushal caused Victim

Company I to pay the THRANE Companies over $3.2 million.

       15.       It was further part of the conspiracy and scheme to defraud that, upon receipt of

payments to the THRANE Companies from Victim Company I, THRANE made payments to

Kaushal totaling over $1.7 million.

       16.       It was further part of the conspiracy and scheme to defraud that Kaushal

deposited checks from the THRANE Companies into his personal bank accounts, causing the

transmission of information by interstate wires for purposes of processing these check payments.

       17.       It was further part of the conspiracy and scheme to defraud that THRANE and

Kaushal concealed and attempted to conceal the scheme to defraud, and, after Victim Company




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I discovered overbilling by the THRANE Companies in and about December 2016, THRANE

and Kaushal communicated by email regarding their responses to Victim Company I.

                                             Overt Acts

       18.      In furtherance of the conspiracy, and to effect the objects thereof, the defendant

and other conspirators known and unknown to the United States Attorney committed and caused

to be committed the following acts, among others, in the District of Maryland and elsewhere:

                a.     On or about October 8, 2015, Kaushal sent an email, using email account

kaushalkrakesh@live.com,     to THRANE, which contained an attachment titled "Application and

Certificate for Payment" that listed a "Current Payment Due" amount of $60,000.

                b.     On or about October 22, 2015, THRANE and Kaushal caused Victim

Company I to issue check number 2261 in the amount of $60,000 payable to Company B.

                c.     On or about October 28,2015, THRANE issued and caused to be issued

check number 1026 from Company A in the amount of $26,900 payable to Kaushal.

                d.     On or about December 10, 2015, Kaushal sent an email, using email

account kaushalkrakesh@live.com,     to THRANE, which contained an attachment titled

"Application and Certificate lor Payment" that listed a "Current Payment Due" amount of

$156,500.

                e.     On or about December 17,2015, THRANE and Kaushal caused Victim

Company I to issue check number 2575 in the amount of$156,500 payable to Company B.

                f.     On or about December 21, 2015, TIn~NE issued and caused to be

issued check number 1030 from Company A in the amount of$72,500 payable to Kaushal.

                g.     On or about December 28,2016, Kaushal sent an email, using email

account kaushalkrakesh@live.com,     to THRANE, that read in part, "Good Morning Mr. Kaushal:




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In response to your email of this morning, please allow me to review our records with my

accountant. My accountant is off this week ....   Please rest assured that if there have been any

overpayment to us by [Victim Company I], we will return the overpayment immediately."




18 U.S.C.   S   1349




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                                       FORFEITURE           ALLEGATION

           The United States Attorney for the District of Maryland further finds that:

           I.       Pursuant to Federal Rule of Criminal Procedure 32.2, notice is hereby given to the

defendant that the United States will seek forfeiture as part of any sentence in accordance with

18 U.S.c.       S 981(a)(1)(C),   21 U.S.c.   S 853(p),   and 28 U.S.C.   S 2461 (c), in the event   of the

defendant's conviction on Count One of this Information.

                                                Fraud Forfeiture

           2.       As a result of the offense set forth in Count One, the defendant,

                                         IVAN VICTOR THRANE,

shall forfeit to the United States any and all property, real or personal, which constitutes or is

derived from proceeds traceable to such violations, and all interest and proceeds traceable

thereto.

                                                Substitute Assets

           3.       If, as a result of any act or omission of the defendant, any of the property

described above as being subject to forfeiture:

                    a.      cannot be located upon the exercise of due diligence;

                    b.      has been transferred or sold to, or deposited with, a third person;

                    c.      has been placed beyond the jurisdiction of the Court;

                    d.      has been substantially diminished in value; or,

                    e.      has been commingled with other property which cannot be subdivided

                            without difficulty,




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the United States of America, pursuant to 21 U.S.C. ~ 853(p), shall be entitled to forfeiture of

substilute property.




18 U.S.c. ~ 98 I (a)(l)(C)
21 U.S.c. ~ 853
28 U.S.C. ~ 2461(c)




Date:   .July tL 2019                                  ~d
                                                     Robert K. Hur
                                                                   K#,~1~
                                                     United States Attorney




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